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 1                                UNITED STATES DISTRICT COURT

 2                                                 for the

 3                                     Western District of Wisconsin

 4                                             Civil Division

 5

 6

 7   MICHELLE R GILBANK, et al.,                        Case No.: 20-cv-601-jdp

 8                  Plaintiffs,

 9   vs.                                                PLAINTIFF’S STATEMENT ON APPEAL

10   WOOD COUNTY DHS, et al.,

11                  Defendants.

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15                    SUMMARY OF CASE AND ARGUMENTS FOR APPEAL

16

17   On August 21, 2018, Defendant Heinzen-Janz and Defendant Iverson interfered in Plaintiff’s

18   right to the care, custody, and control of her daughter T.E.H.

19   On August 21, 2018, Defendant Heinzen-Janz intentionally confined Plaintiff from returning to

20   her home and dwelling.

21   On August 21, 2018, the false imprisonment caused by Defendant Heinzen-Janz substantially

22   interfered with Plaintiff’s access to her personal property (conversion).

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25   PLAINTIFF’S BRIEF IN OPPOSITION                                                              -1

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 1   On August 22, 2018, Defendant Heinzen-Janz and Defendant Iverson created, submitted, and

 2   signed false documents with Wood County Circuit Court implying that Plaintiff was under the

 3   influence and left her daughter without care on August 21, 2018. Neither of these statements

 4   were true.

 5   On September 13, 2018, Defendant Heinzen-Janz filed more documents with the court

 6   containing false claims that she had no evidence of. Her evidence of Plaintiff’s neglect was

 7   Plaintiff’s denial of this neglect. Defendant Heinzen-Janz made false claims of Plaintiff being

 8   uncooperative and left out important information regarding Plaintiff’s many requests for

 9   assistance, Plaintiff’s successful actions in seeking safety for her child. This intentional omission

10   of extremely important information constitutes fraud on the court.

11

12          There was no judicial involvement in the violation of these rights until August 23, 2018.

13   Plaintiff received no notice or opportunity to be heard on this date. Plaintiff continually

14   requested that she be heard in this matter from August 21, 2018 until September 19, 2018, when

15   her request to be heard was denied. Plaintiff was told that the probable cause hearing was held

16   without her and would not be reheard. Plaintiff requested a Writ of Certiorari to this denial and

17   that was also denied.

18

19          Defendants’ violations of law on August 21 and 22, 2018 led to intentional emotional

20   distress and trauma to both Plaintiff and her child. Knowing that one’s child is being

21   traumatized and is in danger of sexual assault is additionally traumatizing to a parent.

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25   PLAINTIFF’S BRIEF IN OPPOSITION                                                                  -2

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 1           Defendants’ violations of law on August 21 and 22, 2018 caused the court to take action

 2   which caused the Plaintiff and her daughter severe trauma and injury for 504 days. Plaintiff

 3   could find not a single juvenile court case in which Wood County Court ruled against Wood

 4   County DHS recommendation when a child’s primary caregiver was not present for the initial

 5   hearing.

 6

 7           But for Defendants’ actions, Plaintiff’s trauma and injuries would not have occurred.

 8

 9

10   Plaintiff’s right to the care, custody, and control of her child is a Fundamental Right.

11      •    “The liberty interest at issue in this case — the interest of parents in the care, custody,
             and control of their children — is perhaps the oldest of the fundamental liberty interests
12           recognized by this Court.” Troxel v. Granville, 530 U.S. 57 (U.S. 2000)

13

14      Fundamental Rights are rights that are so “implicit in the concept of ordered liberty” that

15   “neither liberty nor justice would exist if they were sacrificed.”

16      •    See Palko v. Connecticut, 302 U.S. 319, 325, 326, 58 S. Ct. 149, 152, 82 L. Ed. 288
             (1937); McKinney v. Pate, 20 F.3d 1550, 1556 (11th Cir. 1994) (en banc). The Supreme
17           Court has recognized that fundamental rights include those guaranteed by the Bill of
             Rights as well as certain liberty, associational and privacy interests implicit in the due
18           process clause and the penumbra of constitutional rights. See Glucksberg, 521 U.S. at
             720, 117 S. Ct. at 2267; Paul v. Davis, 424 U.S. 693, 712-13, 96 S. Ct. 1155, 1166, 47 L.
19           Ed. 2d 405 (1976). These special “liberty” interests include “the rights to marry, to have
             children, to direct the education and upbringing of one’s children, to marital privacy, and
20
             to bodily integrity.” Glucksberg, 521 U.S. at 720, 117 S. Ct. at 2267.
21

22      Fundamental rights must adhere to the Strict Scrutiny Standard. Unless it is necessary for

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25   PLAINTIFF’S BRIEF IN OPPOSITION                                                                  -3

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 1      the government to interfere with the right in order to achieve some compelling governmental

 2      objective the action will be prohibited. The burden of proof is on Defendants.

 3      •     As the Court stated in Bowers v. Hardwick, 478 U.S. 186, 189 (1986), “to prevail, the
              State would have to prove that the statute is supported by a compelling interest and is the
 4            most narrowly drawn means of achieving that end.”

 5

 6      Strict Scrutiny requires that there be a warrant or emergency so imminent that immediate

 7   removal is required in order for Defendants to violate Plaintiff’s Fundamental Rights.

 8

 9   Defendants must agree that:

10      1.  They took temporary custody of Plaintiff’s child without a warrant.
        2.  Plaintiff faced no criminal accusations regarding her care for her child.
11      3.  Plaintiff’s child was in adequate care.
        4.  Defendants attempted to ‘safety plan’ with Plaintiff after Plaintiff had placed her child in
12          adequate care. Defendants informed Plaintiff that they were working with her so that she
            could retain custody.
13
        5. After Plaintiff’s child had been in safe care arranged for by Plaintiff for over two hours,
14          Defendants made the decision to take emergency temporary custody of Plaintiff’s child
            and forbid Plaintiff from returning to her home and possessions. They did this without
15          warrants or emergencies of any kind.
        6. Defendants were aware that Plaintiff was being arrested and taken to county jail. If they
16          had any evidence at all to verify their claims, they had at least 24 hours to bring their
            concerns before a judge and request a warrant.
17      7. Defendants did not ‘remove’ Plaintiff’s child from where Plaintiff had placed her for
            care.
18      8. Once Defendants illegally interfered in Plaintiff’s custody, they had an obligation to
            provide for the care and safety of Plaintiff’s child.
19      9. Defendants placed Plaintiff’s 4-year-old daughter in the care of a registered sex offender
            who had been convicted of penetration of a 6-year-old girl. Visitation with this man was
20
            required by prior court order to be supervised at a local center or allowed by Plaintiff.
21          Defendants ignored this prior court ruling without warrant or cause.
        10. Removal of any child from the custody of her primary caregiver causes trauma to both
22          the child and the parent.
        11. Defendants were aware that Plaintiff was a vulnerable adult with a diagnosis of C-PTSD.
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25   PLAINTIFF’S BRIEF IN OPPOSITION                                                                 -4

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 1                   These events occurred prior to any court involvement in Plaintiff’s custody or

 2   individual liberty. Although their unlawful actions greatly affected judicial decisions regarding

 3   Plaintiff’s custody and individual liberty in Wood County Court, Plaintiff seeks no reversal of

 4   Wood County Court rulings.

 5                   In the interest of justice and safety for her child, and in order to be heard and

 6   receive due process, Plaintiff agreed to the closure of the juvenile court case denying Plaintiff

 7   custody of her child 504 days after August 21, 2018. Plaintiff then returned to family court and

 8   regained sole custody of her daughter. Due to Plaintiff’s agreement to the closure, the juvenile

 9   court decisions are not appealable and are not at issue in this case.

10                   Defendants have not been party to any other legal action involving Plaintiff

11   except for the present action before this Court. Defendants actions which violated the

12   Fundamental Rights of the Plaintiff have not been brought to cause by any other court.

13                   Plaintiff believes that the honorable Judge Peterson has made a mistake in

14   applying the Rooker-Feldman doctrine and issue preclusion to this case.

15                   Plaintiff respectfully requests that the 7th Circuit Appellate Court reverse his

16   decision and remand this case back to the Western District of Wisconsin Federal Court for jury

17   trial.

18

19                   Thank you,

20                   /s/ Michelle R Gilbank_________

21                   Michelle R Gilbank, pro se

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25   PLAINTIFF’S BRIEF IN OPPOSITION                                                                     -5

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